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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 IKEIE SMITH #369273,
                                                NO. 1:22-cv-925
        Plaintiff,
 v                                              HON. PAUL L. MALONEY

 RAY RUBLEY, LLOYD BLACKMAN,                    MAG. JUDGE PHILLIP J. GREEN
 LIZA MOYER, GARY STUMP, and
 BRANDON WELCH,

        Defendants.

 Ikeie Smith #369273                            Adam P. Sadowski (P73864)
 In Pro Per                                     Assistant Attorney General
 Baraga Correctional Facility                   Attorney for MDOC Defendants
 13924 Wadaga Road                              Michigan Dept. of Attorney General
 Baraga, MI 49908                               Corrections Division
                                                P.O. Box 30217
                                                Lansing, MI 48909
                                                (517) 335-3055
                                                Sadowskia1@michigan.gov
 __________________________________________________________________________________________/

         DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST AMENDED
                          COMPLAINT

       NOW COME Defendants, by counsel, under Fed. R. Civ. P. 8(b), and file this

 answer to Plaintiff’s Amended Complaint, by like-numbered paragraphs, along with

 affirmative defenses and a jury demand, stating as follows:

                                      DEFENDANTS

       1.      Defendants admit the allegations as true.

       2.      Defendants admit that Ray Rubley is a Corrections Officer currently

               employed by the Michigan Department of Corrections (MDOC) at the

               Bellamy Creek Correctional Facility.
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       3.    Defendants admit that Brandon Welch is a Corrections Officer

             currently on military leave with the MDOC and had previously worked

             at the Bellamy Creek Correctional Facility.

       4.    Defendants admit that Lloyd Blackman was a Corrections Officer

             formerly employed by the MDOC at the Bellamy Creek Correctional

             Facility.

       5.    Defendants admit that Liza Moyer is an Inspector currently employed

             by the MDOC at the Bellamy Creek Correctional Facility.

       6.    Defendants admit that Gary Stomp is a Sergeant currently employed

             by the MDOC at the Bellamy Creek Correctional Facility.

       7.    Defendants state that the allegations are legal conclusions to which no

             response is necessary.

       8.    Defendants admit that they acted under color of state law for their

             work for the MDOC.

                                  EXHAUSTION

       Defendants deny these allegations as untrue.

                             STATEMENT OF FACTS

       1.    Defendants admit these allegations as true.

       2.    Defendants admit that there was an altercation but deny Plaintiff’s

             version of events and affirmatively state that Plaintiff was charged

             and found guilty of a misconduct related to the incident.

       3.    Defendants deny these allegations as untrue.

       4.    Defendants deny these allegations as untrue.

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       5.    Defendants deny these allegations as untrue.

       6.    Defendants deny these allegations as untrue.

       7.    Defendants deny these allegations as untrue.

       8.    Defendants deny these allegations as untrue.

       9.    Defendants deny these allegations as untrue.

       10.   (Marked as 16) Defendants deny these allegations as untrue.

       10.   Defendants deny these allegations as untrue.

       11.   Defendants deny these allegations as untrue.

       12.   Defendants deny these allegations as untrue.

       13.   Defendants deny these allegations as untrue.

       14.   Defendants admit that on March 10, 2020 that Plaintiff was sent to

             Unit 5 in general population after leaving segregation.

       15.   Defendants deny these allegations as untrue.

       16.   Defendants deny these allegations as untrue.

       17.   Defendants deny these allegations as untrue.

       18.   Defendants deny these allegations as untrue.

       19.   Defendants admit that there are multiple officers per shift in each

             housing unit and that these officers often perform rounds to maintain

             security in the facility.

       20.   Defendants admit that certain wings are released at different times

             but state that prisoners from other wings can still be released for

             various reasons.




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       21.   Defendants admit that that each unit is divided into different areas

             and that officers monitor the units to maintain security. Defendants

             deny the remaining allegations as untrue.

       22.   Defendants admit that both inmate Hoskins and Plaintiff were in B

             wing in Unit 5 but deny the remaining allegations as untrue.

       23.   Defendants deny these allegations as untrue.

       24.   Defendants deny these allegations as untrue.

       25.   Defendants deny these allegations as untrue.

       26.   Defendants deny these allegations as untrue.

       27.   Defendants deny these allegations as untrue and Defendants

             affirmatively state that the fight between Hoskins and Plaintiff did not

             occur in Plaintiff’s cell.

       28.   Defendants deny these allegations as untrue.

       29.   Defendants deny these allegations as untrue.

       30.   Defendants deny these allegations as untrue.

       31.   Defendants deny these allegations as untrue.

       32.   Defendants deny these allegations as untrue.

       33.   Defendants deny these allegations as untrue.

       34.   Defendants deny these allegations as untrue.

       35.   Defendants deny these allegations as untrue.

       36.   Defendants deny these allegations as untrue.

                                   LEGAL CLAIMS

       1.    Defendants deny these allegations as untrue.

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         2.    Defendants deny these allegations as untrue.

         3.    Defendants deny these allegations as untrue.

         4.    Defendants deny these allegations as untrue.

         5.    Defendants deny these allegations as untrue.

         6.    Defendants deny these allegations as untrue.

         7.    Defendants deny these allegations as untrue.

         8.    Defendants deny these allegations as untrue.

         9.    Defendants deny these allegations as untrue.

         10.   Defendants deny these allegations as untrue.

         11.   Defendants deny these allegations as untrue.

                                RELIEF REQUESTED

         WHEREFORE, Defendants respectfully request that this Honorable Court

 dismiss this cause of action in its entirety with prejudice, and award Defendants

 costs and attorney fees incurred in the defense of this action. Defendants also

 request that this Court grant such other and further relief as may be equitable and

 just.

                             AFFIRMATIVE DEFENSES

         Defendants, by counsel, and pursuant to Fed. R. Civ. P. 8(c), asserts the

 following affirmative defenses:

         1.    Plaintiff may not have properly exhausted his administrative

 remedies.

         2.    Plaintiff’s federal claims against Defendants are barred in whole or in

 part by qualified immunity because Defendants’ conduct did not violate clearly

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 established statutory or constitutional rights of which a reasonable person would

 have known.

       3.      Plaintiff has failed to mitigate his damages.

       4.      To the extent that any of Plaintiff’s claims relate to previous lawsuits

 or misconducts, Plaintiff’s claims are barred by the doctrines of estoppel and/or res

 judicata.

       5.      Some or all of Plaintiff’s claims are barred by the statute of limitations.

       6.      Service and/or process was not properly completed on some or all of the

 Defendants.

       7.      Some or all of Plaintiff’s losses and damages, if any, were caused by his

 own conduct and/or the conduct of third parties and are not attributable to the

 Defendants.

       8.      Defendants reserve the right to set forth additional affirmative

 defenses that may become known through discovery or other means, and in

 response to any claims or additional forms of relief that Plaintiff may add.

                          DEFENDANTS’ JURY DEMAND

       Defendants, by counsel, and pursuant to Fed. R. Civ. P. 38(b), hereby demand

 a trial by jury in the above cause.

                                                 Respectfully submitted,

                                                 /s/Adam P. Sadowski
                                                 Adam P. Sadowski (P73864)
                                                 Assistant Attorney General
                                                 Attorney for MDOC Defendants
                                                 Corrections Division
                                                 (517) 335-3055
                                                 Sadowskia1@michigan.gov
 Date: April 17, 2024
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                           CERTIFICATE OF SERVICE

        I hereby certify that on April 17, 2024, I electronically filed the foregoing
 paper with the Clerk of the Court using the ECF system which will send notification
 of such filing to counsel and placed same in U.S. mail to the following non-ECF
 participant:

 Ikeie Smith #369273
 Baraga Correctional Facility
 13924 Wadaga Road
 Baraga, MI 49908

                                              /s/ Adam P. Sadowski
                                              Adam P. Sadowski (P73864)
                                              Assistant Attorney General
                                              Attorney for MDOC Defendants




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